                       Case 2:22-mj-01689-VRG Document 1 Filed 07/21/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01689(1)
                                                            §
(1) Adan Alexander Morales-Martinez                         §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 18, 2022 in Val Verde county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, knowing or in reckless disregard of the fact that an alien has come to, entered,

or remains in the United States in violation of law, transports, or moves or attempts to transport or move

such alien within the United States by means of transportation or otherwise, in furtherance of such violation

of law



in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(ii)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On July 18, 2022, defendant Adan Morales-Martinez, a Mexican citizen, was arrested near

Del Rio, Texas, within the Western District of Texas, for transporting one illegal alien further into the United

States. The defendant was encountered in a group of suspected illegal aliens in the brush and was

apprehended with Garcia-Ortiz after a foot chase. The defendant

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

07/21/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
            Case 2:22-mj-01689-VRG Document 1 Filed 07/21/22 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                             Case Number: DR:22-M -01689(1)

     (1) Adan Alexander Morales-Martinez

Continuation of Statement of Facts:

was verbally aggressive toward agents, and stated Agents help him cross people. When asked if he crossed the
group, the defendant nodded and said Agents were not going to do anything to him anyhow. Agents determined
both subjects were Mexican citizens illegally present in the United States. The defendant denied knowing anyone
in the group during his sworn statement. Garcia-Ortiz positively identified the defendant as the foot guide in a
six-pack photo line-up and said he was to pay the defendant $2000 USD."




______________________________
Signature of Judicial Officer                                  Signature of Complainant
